            IN THE DISTRICT COURT OF THE UNITED STATES
           FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                         ASHEVILLE DIVISION

                    CRIMINAL CASE NO. 1:09cr13-5


UNITED STATES OF AMERICA, )
                          )
                          )
             vs.          )                    ORDER
                          )
                          )
REGINALD LAMOND FIELDS. )
                          )



     THIS MATTER is before the Court on the Defendant’s pro se Motion

to Remove which the Court construes as a motion for new court-appointed

counsel.

     On April 24, 2009, the Defendant entered into a plea agreement with

the Government pursuant to which he pled guilty to one count of

conspiracy to possess with intent to distribute cocaine base. [Doc. 199].

His presentence report has been completed but his sentencing hearing has

not yet been scheduled.

     Out of an abundance of caution, the Court will refer this matter to the

Magistrate Judge for a status of counsel hearing.




   Case 1:09-cr-00013-MR-WCM    Document 386    Filed 10/08/09   Page 1 of 2
     IT IS, THEREFORE, ORDERED that the Defendant’s pro se Motion

to Remove shall be scanned into the record, construed as a motion for new

court-appointed counsel and referred to the Magistrate Judge for a status

of counsel hearing.

                                     Signed: October 7, 2009




   Case 1:09-cr-00013-MR-WCM   Document 386      Filed 10/08/09   Page 2 of 2
